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            Electronically Filed by Superior Court of California, County of Orange, 07/08/202011 f424:1 AM.
0-2o2     1150791-CU-PO-CJC - ROA #2 - DAVID H. YAMASAKI, Clerk of the Court By Omar Baldiyar, Deputy clerk,


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                                               ,SUPERIOR COURT OF-CAL.IFOIMA
   9                                            fQR:THEI COUNTY .0FORANU
  1:0"                                                  :UNLIMITED CIVIL              .J:6-202.0:41,15•0791.-cLi.p.o.pic.
  11     BELAID BENAOUDIA,                                          :cAs•E            *.yigoq 1.6
                                                                                      J udge Charles
 :12                      Plaintiff,
                                                                    .COMPLAINT FOR.DAMAGES
 :13' VS.
                                                                        1. N'egligen.cc 400 Premiscs Liability'
 :14     TARGET CORPORATION,And 1.,x)                   1
         through 1:00; inclusive,
                                                                    [AMOUNT DEMANDED EXCEEDS S25,.0.00]
                          Defendants.
  16

  17 P1ainfit:13E,LAII)atNAOLJOIA,atloges

  18                             FIRST'CAUSE OF ACTION OFBELAIDJIENAOUDIA,.

                : AGAINST.ALL DEFENDANTS FOR NEGLIGENCE AND PREMISES LIABILITY
                :

 20               1.      •Tho.trite:0010S- and CaOcitits,,,.WbcttiCt: jdIviduà1, c pofate.„ 4SSOciatd. or .d.therv.;iiSe. Of
 21      defendants':DOES'I throtigh TOO,.inclusive, are nnknOWri:to Plaintiff -who :Sues..thoSe.:defendants:by such •

 :22     fictitious oatrics: and il1 ask leave. of court to amend •iibj's complaint to substitute their ..true names grid. ..
         capacities whorythpy.aro,ascettained,

 24              1        'Plaintiff IS, infOrtried :arid believes: and On this. bas1S .aneges that:Cath .of.thO, fibtitiously

 25      pamed. defendants is responsible And liable In:some manner for the tycuts and happenings referred to :

 26 :herein and that thcir conduct proximately • pawed the darylagos,sustained. by Plaintiff:as:•alleged :herein,
         .cithot. cli77edity through tli6.it      •coriduet, o though ilie• conduct. Of their. agents, employees and:

 28 •associates.


                                                   COMPLAINT FORDAMAOES
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                                                                                               EX B - pg. 10
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 1          3.      Plaintiff is informed and believes and on this basis alleges that at all times mentioned

 2   herein, each of the defendants was acting as the agent, servant and employee of each of the other

 3   defendants and was acting within the scope of such agency and employment.

 4          4.      Plaintiff is informed and believes and on this basis alleges that defendants TARGET

 5   CORPORATION and DOES 1 through 25 (hereinafter collectively "TARGET") were and are

 6   corporations, partnerships, joint ventures, limited liability corporations, individuals or other business

 7   entities doing business in Orange County, California, who own, manage, supervise, control, maintain,

 8   rent, operate, lease, clean and inspect a store commonly known as TARGET located at 3750 Barranca

 9   Parkway, Irvine, CA 92606 (hereinafter "STORE").

10          5.      Plaintiff is informed and believes and on this basis alleges that defendants DOES 26

11   through 50 were and are employees, agents, inspectors, managers and supervisors for TARGET at the

12   STORE and in doing the things alleged herein were acting within the course and scope of their agency

13   and employment for TARGET.

14          6.      Plaintiff is informed and believes and on this basis alleges that defendants DOES 51

15   through 75 were an.d are employees, agents, inspectors, managers, and supervisors for TARGET at the

16   STORE who, manage, Supervise, control, maintain, inspect, clean, and are responsible for the safety

17   and cleanliness of the floors within the STORE and in doing the things alleged herein were .acting

18   within the course and scope of their agency and employment for TARGET.

19          7.     Plaintiff is informed and believes and on this basis alleges that defendants DOES 76

20   through 100 were individuals or business entities who did some negligent act or omission to act Which

21   caused or contributed to plaintiffs injuries in some manner not currently known to plaintiff and are

22   therefore sued herein by such fictitious names.

23          8.     Plaintiff is informed and believes and on this basis alleges that at all times herein.

24   mentioned, the defendants had possession, control, maintenance, operation and ownership of the

25   STORE and that all defendants herein mentioned were responsible in some manner for the operation,

26   repair, inspection, cleanliness, management, safety, cleaning up. of spins and maintenance of the

27   STORE premises, including the condition and safety ofthe aisles and walkways within.the STORE.

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                                          COMPLAINT FOR DAMAGES


                                                                                  EX B - pg. 11
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 1           9.      Plaintiff is informed. and .believes and on this basis alleges, that at all times herein

      mentioned the common •walkways in the STORE are made of a.hard, smooth, shiny, light-colored and

 3    glossy • Surface that becomes very slippery when liquids or GRAP.ESs are spilled on.it. This type of

 4    smooth, hard surface creates an increased slipping .hazard when. l- iquids, products such as .grapes or

 5 .GR.A.PF.Ss-are spilled on or tracked ,onto it, because the surface betornes more slippery than other types.

 6 -of surfaces that could have been installed in the STORE.. The defendants could have chosen carpeted

 7    floor or a rougher, more .porous,.non-slip surface for the floors of the STORE, such that the surface.

 8 .would not create as much of A
                                . ..slipping hazard          when   tiozpijci , were   spilled, on or tracked on it:

 9    Additionally, the light colored, shiny surface of the floors makes it very difficult for patrons to spot any

10    clear liquids or GRAPESs that have been spilled on the floor. Defendants could have also chosen a

11    different color for the floors that Would allow spills and slipping hazards to be more visible to patrons.

12 Instead, the defendants chose to install a Smooth, light colored, shiny, hard floor that provided them the

13    benefits of an attractive, durable, easy-to-clean surface, but which also presented an increased risk of a

IA    slipping: hazard when liquid or, GRAPES was spilled on :Or tracked on it,. and which, presented the

15    increased risk.that Such hazards Would not be visible to patrons. In doing: so, the defendants took upon

16    themselves the increased duty to frequently inspect for and protect against this increased risk of slipping

17 hazards.in the STORE.

18.          10.    .Plaintiff is informed and believes and on this basis alleges that on or about October 30,

19 2018, all defendants negligently and carelessly allowed an unreasonable risk of harm to exist at the

20    STORE. The unreasonable risk ofharm at the STORE consisted of grapes from the STORE's produce

21    section that 'had been spilled, dropped, and allowed,to accumulate On the floor in the commen walkway
22 of the produce aisle in the STORE: These grapes (hereinafter referred to as "GRAPES")on the,floor of

23 the STORE made the floor extremely :slippery and a dangerous. trap for persons while patronizing the

24    STORE and walking along the 'aisle, in that the spilled GRAPES Was slippery enough to cause patrons
25    to slip and suffer injury. Additionally, the, GRAPES could. not .be readily noticed by a person

26    patronizing the STORE because the GRAPES were diffietilt to see on the shiny, light-colored floor in
27    the common walkway ofthe STORE At no'time did the defendants. warti of this condition or abate it,

28 such as by posting warning cones, timely inspecting or sweeping or mopping the floor, or by taking any


                                            COMPLAINT FOR DAMAGES


                                                                                         EX B - pg. 12
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  1    steps to protect the Plaintiff from this unreasonable risk of harm until after Plaintiff fell. (This set of

  2    conditions is hereinafter referred to as the "UNREASONABLE RISK OF HARM") The

  3    UNREASONABLE RISK OF HARM created a dangerous trap on the common walkway of the STORE

  4    in that it could not be readily noticed or recognized and could cause a person's shoe to slip and cause

  5    that person to slip and fall. Defendants knew and intended for customers to walk on the common

  6    walkway in the area where the UNREASONABLE RISK OF HARM was and step in the area where

  7    the GRAPES were spilled, and it was foreseeable that a person walking on the common walkway of the

  8    STORE would not recognize the UNREASONABLE'RISK OF HARM created by the GRAPES on the

  9    floor and would step into it and slip and fall and be injured. The UNREASONABLE RISK OF HARM

10     was not reasonably apparent to patrons of the STORE.

11             1 1.   Defendants had notice of the UNREASONABLE RISK OF HARM because defendants

12     or their agents created this condition, defendants allowed this condition to exist, defendants knew that

13     the condition created a potential slipping hazard, and this condition had existed for a sufficient amount

14     of time that through reasonable diligence and inspections defendants should have noticed it, recognized

15     its dangerous condition, and removed the GRAPES or taken other reasonable measures to protect the

16     public from this UNREASONABLE RISK OF HARM. The GRAPES that caused plaintiff to slip and

17 fall had been on the STORE floor for a sufficient amount of time that the defendants should have

18     noticed it through reasonable diligence and inspections. It was reasonably foreseeable that a person
19     walking in the common walkway of the STORE would not notice the GRAPES on the floor or

20     appreciate the dangerous condition this presented and step into it and slip and fall and be injured as

2• 1   hereinafter alleged. Despite this foreseeability, defendants failed to take reasonable measures to protect

22     the public from this UNREASONABLE RISK OF HARM on the common walkway of the STORE.

23             12.    Defendants negligently and carelessly allowed this UNREASONABLE RISK OF

24     HARIvi to exist on the floor by permitting this condition to exist for a significant period of time, failing

25     to warn of the existence of the GRAPES, failing to barricade or put delineators or warning cones

26     around the GRAPES, failing to keep the floor in a safe condition; failing to conduct more frequent

27     safety inspections, especially during peak business hours, failing to have a nonslippery floor, failing to

28     properly clean up the GRAPES after it was spilled, failing to properly inspect the floor at the STORE to


                                             COMPLAINT FOR DAMAGES


                                                                                      EX B - pg. 13
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  1 locate and clean up the. GRAPES; and failingto take other reasonable precautionary Ipeasures to create
 2 a safewalking surface in the STORE.
 3            :O.       On Or.about October SO, 201 g.„                  at.the.STORE preniiSts to:confer a buSiness

 4 advantage on the defendants: As such, Plaintiff was a-business invitee; -At that tinic..and,place,.prgiOiff
      .was walking in or arepr4 the: produce: :aisle .at the STORE:and :Plaiotiff was: unaware: of: the spilled

 6 GRAPES.'on the:fleet :and the UNRE.ASONABLE 131 1(:OF HARM created:thereby. While 'Plaintiff
 7 'Was dding:hi§.geocety !shopping he:began walking in the aisle in a reasonable manner whenraintiff:fell
 8. .prey .to the UNREASONABLE: RISK:                              and .54pc.d
                                                                       ,.        on the'GMPES on the floor ,of the

      STORE4.,. which catiSed hitt to 'slip and fa1l, and siiStairi,Ahe injuries and. damages as. hereinafter

1.€1 .deseribed

              14        As. a   direct and .lcgal cause of the negligence        of   each or • the defendants and       the
12"   UNREASONABLE RISK OF HARM at:the:: STORE,.Plaintiff Was injtired in                         hiS health; Strength and

      activity; sustaining permanent'bodily injury and damage and Apek to her menial and                 nervous system,
    which injuries have caused and continuo to cause Plaintiff -great physical, emotional l and ;Mental pain
14. w.hich
      and. suffering,     te, Plaintiffs darnage     ao-arribiint aCeording.to proof.
                                                                                    ; at.trial,

              LS':      As: a direct and legal: cause of the negligence of each.-of the defendants and                   the.
1.7   UNREASONABLE RISK ot.tiAgm..4 the STORE,:Plaintiff"has: incurred .aritt will continue to incur
113   medical, hospital, nursing attendant         And .teigied expenses    all to Plaintiffs damage in an Antonia

1.9   according to gpiddEat trial.,

20            14.       As a    direct   and legal cause of .the negligence of •eaeh. :of 'the.: defendants and          the
21. .UNR.EASONABLE..RISK.OF:UAW at the STORE,.                                    suffered a .10g:', dr .dithirititidn Of her

.22 time and inCome,.allito Plaintiffs damage:in asum:according:40:proofat trial.,
23 lit
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:25 iii
.26 111
27. :111



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                                                 COMPLA4NT. FOR PAMAGS

                                                                                            EX B - pg. 14
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               WHEREFORE,Plaintiff prays for.damages:

                       1.       Vor non-economit dainages!in asurnaecording tO proOlat tri4
  3                    2:      Fcr ritTlb_ursgmenl of Plaintiffs medical hospital,,nursing, attendant-and other
  4                            related expenses in:a.surp according to proof•at:trial;.

  .5.                  3.      For teitiibUrseitierit Of Plaintiffs   loss Of.ihedine and the. Value .of her time in a
  6                            .surmaccordine to proof:avtrial;

  7                   4,       For costs'ofsuit incurred hereirr,,

       .              .5:.:    'For preiUdgrnent.'interest.pursuoit tO. Cv.i Code §3:291:;:
  9.                  .6.      For such other reliefas..the courtdeemsjustarid proper.:.

 10:

 11. Dated: J' uly .8;;2Q'26                           EASTON          EASTON,LLP



                                                       By::       AAA.04
                                                               BRIAN W. EA$TON
                                                              .GABRIEL M. MENDOZA
                                                               MA-NI S. NAVAB
                                                               Attorneys for Plaintiff,
                                                              .BELAID:BENAOUDIA
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                                              COMPLAINT FOR DAMAGES


                                                                                          EX B - pg. 15
